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  Established in 1953                                               Lee C. Ashcraft 1908 – 1993 | Martin E. Gerel 1918 – 2011



                                                      October 14, 2019

  VIA ELECTRONIC MAIL
  Honorable Freda L. Wolfson, Chief Judge
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:         In Re: Johnson & Johnson Talcum Powder Products Marketing, Sales
                        Practices and Products Liability Litigation (MDL No. 2738)

  Dear Chief Judge Wolfson:

         On October 7, 2019, the parties filed their respective Post-Daubert Summation Briefs.
  Appended to Defendants’ Johnson & Johnson and Johnson & Johnson Consumer Inc.’s briefing
  was a separate 13-page document entitled Defendants’ Amended Glossary of Technical Terms.
  The parties previously submitted separate Glossaries with the filing of the initial wave of
  Daubert motions and supporting briefs. The parties submitted separate Glossaries because they
  could not agree on the terms and definitions to be included in a joint submission. The parties had
  no discussion nor was there any agreement about the submission of an amended glossary of
  terms and definitions at this stage, and the Defendants unilaterally did so here without the
  agreement of the PSC or leave of Court authorizing the submission.

          Notably, many of the terms and definitions included in Defendants’ amended Glossary
  are argumentative and duplicative of those contained in Defendants’ earlier submitted Glossary.
  In many instances, the terms used and definitions supplied come only from defense experts.

          Moreover, many of the definitions provided by Defendants fail to define the terms in
  accordance with regulatory standards and guidelines, as well as the published literature. This is
  concerning because this is a continuation of conduct engaged in during the Daubert hearing
  where Defendants misused a draft IARC monograph to cross-examine a PSC expert regarding
  the definition and categorization of fibrous talc.




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         The PSC therefore attaches as Exhibit A an amended version of its previously submitted
  Glossary (submitted to the Court and defense on May 20, 2019 and attached as Exhibit B), with
  newly amended terms asterisked and underlined. This Glossary provides correct definitions of
  terms referred to in the briefing.

                                          Respectfully submitted,

                /s/ Michelle A. Parfitt                  /s/ P. Leigh O’Dell
                Michelle A. Parfitt                      P. Leigh O’Dell


  cc:    All Counsel
